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                               UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND (GREENBELT)

     IN RE:
                                                             *
     CHEREKA K MELVIN
                                                             *       CASE NO. 19-14593
              Debtor(s).
                                                             *       CHAPTER 13
     *           *         *       *       *       *
                                                             *
     PRESTIGE FINANCIAL SERVICES,
     INC.                                                    *

              Movant                                         *

     vs.                                                     *

     CHEREKA K MELVIN                                        *

              Respondent(s).                                 *

*        *           *         *       *       *       *      *      *      *     *       *

                           MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                         OR, IN THE ALTERNATIVE, FOR ADEQUATE PROTECTION

         Prestige Financial Services, Inc. ("Prestige Financial"), by its attorney, Jacob Zweig, and

the law firm of Evans Petree PC, moves for relief from the automatic stay of 11 U.S.C. § 362,

and represents that:

         1.          This is a contested matter under Bankruptcy Rules 4001 and 9014.

         2.          This Court has jurisdiction over this core proceeding pursuant to 28 U.S.C. §§

157 and 1334 and 11 U.S.C. §§ 361, 362, and 363.

         3.          Chereka K Melvin ("Debtor") filed a Voluntary Petition under Chapter 13 of the

Bankruptcy Code on April 4, 2019 (“Petition Date”).

         4.          On October 26, 2013, the Debtor entered into a Retail Installment Sale Contract

("Contract") for the purchase of a 2011 Honda Pilot, VIN 5FNYF4H5XBB035576 ("Collateral").
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The Contract was subsequently assigned to Prestige Financial for value and in good faith. A

copy of the Contract is attached to and incorporated in this Motion.

       5.      Prestige Financial has a validly perfected, first priority, purchase money security

interest in the Collateral, as noted on the Notice of Security Interest Filing issued by the

Maryland Motor Vehicle Administration. A copy of the Notice of Security Interest Filing is

attached to and incorporated in this Motion.

       6.      The Debtor’s Chapter 13 Plan does not mention Prestige Financial or the

Collateral.

       7.      The Contract is in default. On the Petition Date, the Debtor’s account was

$16,626.82 in arrears. On the date of this motion, the Debtor’s account is $17,356.53 in arrears

(representing the June 8, 2017 through April 8, 2019 monthly installment payments of $729.71

each, plus $573.20 in pre-petition fees).

       8.      The outstanding payoff amount due to Prestige Financial is $41,082.80.

       9.      The NADA retail value of the Collateral, assuming average mileage, is

$13,450.00.

       10.     Prestige Financial’s interest in the Collateral is depreciating while the Debtor

continues to retain and use the Collateral without making payments to Prestige Financial. The

Debtor has not continued to make payments as and when due in accordance with Local

Bankruptcy Rule 3070-1(a).

       11.     Pursuant to 11 U.S.C. § 362(d)(1), sufficient cause exists to terminate the

automatic stay as to Prestige Financial, its Collateral and the proceeds thereof, including lack of

adequate protection and the Debtor’s material defaults under the Contract.
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        12.       Pursuant to 11 U.S.C. § 362(d)(2), sufficient cause exists to terminate the

automatic stay as to Prestige Financial, its Collateral and the proceeds thereof, as there is no

equity in the Collateral and it is not necessary for the Debtor’s effective reorganization.

        13.       Pursuant to 11 U.S.C. §§ 361 and 363, Prestige Financial is entitled to adequate

protection for its interests in the subject Collateral.

        WHEREFORE, THE ABOVE PREMISES CONSIDERED, Prestige Financial requests

that the Court enter an Order:

        (a)       Terminating the automatic stay, and declaring that Prestige Financial is entitled to

exercise all rights under state and/or federal law that are not inconsistent with Title 11 of the

United States Code; or

        (b)       Modifying or conditioning the stay to provide adequate protection to Prestige

Financial; and,

        (c)       Granting such other and further relief as may be just and proper.


                                                _/s/Jacob Zweig___________________________
                                                Jacob Zweig, Esq. (MD 29360)
                                                EVANS PETREE PC
                                                Attorneys for Prestige Financial Services, Inc.
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                                   CERTIFICATE OF SERVICE


I hereby certify that on the 15th day of April, 2019, I reviewed the Court’s CM/ECF system and it
reports that an electronic copy of the foregoing Motion will be served electronically by the
Court’s CM/ECF system on the following:


Timothy P. Branigan, Trustee

Kim D. Parker, Attorney for Debtor


I hereby further certify that on the15th day of April, 2019, a copy of the foregoing Motion was
also mailed first class mail, postage prepaid to:


Chereka K Melvin
10604 Wood Pointe Terrace
Glenn Dale, MD 20769
Debtor


                                                      /s/ Jacob Zweig______
                                                       Jacob Zweig
                                                       EVANS PETREE PC
